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ll.-lOMAS GOULD
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v 2.05cn20233 01 %644444{;114%

UN|TED STATES OF AMEFI|CA

SHEFlRlE-LEE DOREEN CAVE
MMM
Defense Attorney
800 Wi|shire Bou|evard, Suite 1510
Los Angeles, CA 90012

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the Misdemeanor information on August 09,
2005. According|y, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Count
Title & Section MLW§_MA\Y Offense Number(s)
Conc|uded
26 U.S.C. § 7203 Wi||fu| Fai|ure to Fi|e Fteturn, Supp|y 05/08/2002 1

information

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Mandatory
Victims Fiestitution Act of 1996

Case Number 2:02CFi20165-06-D is dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. N/A (Canadian Citizen) Date of imposition of Sentence:
Defendant’s Date of Birth: 11/27/1964 August 09, 2005
Deft’s U.S. Marshai No.: 25199-112

   

Defendant’s lV|ai|ing Address:
1382 Oakridge Court
Thousand Oal<s, CA 91362

BERN| E B. DONALD
UN|TED STATES DISTRICT JUDGE

August vii , 2005

     
   
 

Thls document entered on the docket shea
with Fiule 55 and/or 32(b) FHCrP on

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Case No: 2:05CR20288-01-D Defendant Name: Sherrie-Lee Doreen CAVE Page 2 of 3

PROBATION

The defendant is hereby placed on probation for a term of 12 Months.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). |f this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed. or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:050R20288-01-D Defendant Name: Sherrie-Lee Doreen CAVE Page 3 of 3

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the oourt;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crirnina| Monetary Penaities sheet of this judgment.

ADDIT|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. imposed term of Probation shall be supervised in the Central District of California;

2. The defendant shall notify Probation Officer of each time of planned travei;

3 The defendant shall pay $50,000.00 Civi| Forfeiture into the U.S. Nlarshal Seized
Asset Fund.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$25.00

The Specia| Assessment shall be due immediately

F|NE
No fine imposed.

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CR-20288 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

Vivian R. Donelson

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Richard M. Steingard

LAW OFFICE OF RICHARD M. STEINGARD
800 Wilshire Blvd.

Ste. 15 10

Los Angeles7 CA 90017

Honorable Bernice Donald
US DISTRICT COURT

